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IN THE UNITED sTATEs DISTRIC§N§YHE
FOR THE wEsTERN DISTRICT 0F T 25 PH |.~25

WESTERN DIVI S ION

 

 

SHARON D. FISHER,
Plaintiff,

vs. No. 05-2236-Ml/P

INTERNATIONAL PAPER, et al. ,

Defendants.

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ORDER GRANTING LEAVE 'I‘O PROCEED l_l\l FORMA PAUPERIS
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAI‘I‘H
AND
NOTICE OF APPELLA'I'E FILING FEE

 

Plaintiff Sharon D. Fisher filed a LQ § complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e §§ §§g;, along With a motion to proceed in §g;mg pauperis.
Based on the information contained in the Plaintiff's affidavit,
the motion to proceed.ig_fg;ma_pauperis is GRANTED. The Clerk shall
record the Defendants as International Paper, Lynn A. Stokes, Laura
Seed, Robert Ricks, and Stacy Bachus.

The Plaintiff is a former employee of International
Paper. The Complaint alleges that she failed to receive a promotion
and was terminated because of her race and sex. The Complaint also
alleges that she was retaliated against and constructively
discharged for complaining about race discrimination and for filing

charges of discrimination, retaliation, and harassment. The

Tnis document entered on the docket sheet tn compliance
with Hu|e 58 and/or 79(a) FRCP on 7" . '

 

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discriminatory acts are alleged to have occurred on August 29,
2001. The Plaintiff filed charges with the Equal Employment
Opportunity Commission on April 9, 2002, and September 3, 2003. She
received a right to sue letter on October 2, 2003.

This is the second Title VII complaint filed by this
Plaintiff concerning these events. Plaintiff’s first lawsuit,
Fisher v. International Paper Co., No. 03-2988-D/P (W.D. Tenn.),
was filed December 30, 2003. On February 12, 2004, District Judge
Bernice B. Donald issued an order denying leave to proceed ip §p;m§
pauperis and directing the Plaintiff to pay the civil filing fee
within thirty days. Plaintiff failed to respond to that order, so
Judge Donald issued an order on March 19, 2004, dismissing the case
without prejudice for failure to prosecute. Judgment was entered

March 3l, 2004.

 

The Court is required to screen gp forma pauperis
complaints and to dismiss any complaint, or any portion thereof, if
the action -

(i) is frivolous or malicious;

(ii) fails to state a claim on which relief may be
granted; or

(iii) seeks monetary relief against a defendant who
is immune from such relief.

28 U.S.C. § 1915(e)(2). Plaintiff's Complaint is subject to
dismissal in its entirety.

As a preliminary matter, there is no remedy under the
employment discrimination statutes against a co-worker or

supervisor in his or her individual capacity. Wathen v. General

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Electric Co., 115 F.3d 400, 405 (6th Cir. 1997). Accordingly, the
Court DISMISSES the Complaint with respect to Defendants Stokes,
Seed, Ricks, and Bachus pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii).
Moreover, the Plaintiff's Title VII claim against
International Paper is not timely. An aggrieved person in a
deferral state such as Tennessee must file a formal charge of
discrimination within three hundred (300) days of the allegedly
discriminatory action, 42 U.S.C. § 2000e-5(e)(1), and must commence
a civil action within ninety (90) days of receipt of the right to
sue letter, igp, § 2000e~-5(f)(1).l The Supreme Court has held that
the limitations period for filing a charge with the EEOC “is
subject to waiver, estoppel, and equitable tolling.” Zipes v. Trans
World Airlinesl Inc., 455 U.S. 385, 393 (1982).2 However, equitable
tolling is rarely appropriate:
This circuit has repeatedly Cautioned that equitable
tolling relief should.be granted only sparingly. . . . In
determining whether the equitable tolling of the EEOC

filing period is appropriate in a given case, we have
consistently taken into consideration the following five

factors:
1) lack of notice of the filing requirement;
2) lack of constructive knowledge of the filing
requirement;
3) diligence in pursuing one's rights;

 

1 The Supreme Court held in National R.R. Passenqer Corp. v. Morgan,

536 U.S. 101, 110 (2002), that “[a] discrete retaliatory or discriminatory act
‘occurred' on the day that it ‘happened.’ A party, therefore, must file a charge
within either 180 or 300 days of the date of the act or lose the ability to
recover for it."

2 That analysis has also been applied to the ninety-day period

commencing with receipt of the right to sue letter. Crown, Cork §_Seal Co. v.
Parker, 462 U.S. 345, 354 (1983).

 

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4) absence of prejudice to the defendant; and
5) the plaintiff’s reasonableness ill remaining
ignorant of the particular legal requirement
for filing his claim.
[T]he five factors considered in deciding whether
to equitably toll a limitations period are not
comprehensive, nor is each of the five factors relevant
in all cases. . . . The decision whether to equitably
toll a period of limitations must be decided on a
case-by-case basis.
Amini v. Oberlin College, 259 F.3d 493, 500 (6th Cir. 2001)
(citations omitted); see Truitt v. Countv of Wavne, 148 F.3d 644,
648 (6th Cir. 1998) (applying identical analysis to ninety-day
limitations period after receipt of right-to-sue notice).
Applying these standards, the Sixth Circuit has
consistently rejected the most common arguments made by plaintiffs
in favor of equitable tolling. Thus, for example, claims that a pro
§§ plaintiff was ignorant of the legal requirements or incorrectly
calculated the applicable time periods are insufficient to
justifying tolling:
Typically, equitable tolling applies only when a
litigant's failure to meet a legally-mandated deadline
unavoidably arose from circumstances beyond that
litigant’s control. . . . Absent compelling equitable
considerations, a court should not extend limitations by
even a single day.
Graham-Humphrevs v. Memphis Brooks Museum, Inc., 209 F.3d 552, 560-
61 (6th Cir. 2000); see also Johnson v. United States Postal Serv.,
No. 86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988) (refusing to
apply equitable tolling when pro §§ litigant missed filing deadline

by one day). Thus, ignorance of the law by pro §§ litigants does

not toll the limitations period. Price v. Jamrog, 79 Fed. Appx.

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110, 112 (6th Cir. Oct. 23, 2003); Harrison v. I.M.S., 56 Fed.
Appx. 682, 685-86 (6th Cir. Jan. 22, 2003); Miller v. Cason, 49
Fed. Appx. 495, 497 (6th Cir. Sept. 27, 2002) (“Miller's lack of
knowledge of the law does not excuse his failure to timely file a
habeas corpus petition.”); Brown v. United States, 20 Fed. Appx.
373, 374 (6th Cir. Sept. 21, 2001) (“Ignorance of the limitations
period does not toll the limitations period.”); pip Jurado, 337
F.3d at 644-45 (lawyer's mistake is not a proper basis for
equitable tolling). Finally, the absence of prejudice to the
defendant, standing alone, is insufficient to justify equitable
tolling in the absence of an “independent basis for invoking the
doctrine.” Baldwin Countv Welcome Ctr. v. Brown, 466 U.S. 147, 151-
52 (1984) (per curiam).

In this case, the Complaint alleges that the Plaintiff
received a right to sue letter on October 2, 2003, yet this lawsuit
was not filed until March 30, 2005, almost eighteen months later.
The only substantive explanation for the late filing is the
statement that the Plaintiff's previous lawsuit was dismissed
without prejudice. However, the dismissal of case no. 03-2988
without prejudice was based on the fact that there had been no
adjudication on the merits of the Plaintiff’s claims. Nothing in
that order absolved the Plaintiff from other prerequisites to a
valid suit, including the ninety-day statute of limitations set
forth in 42 U.S.C. § 2000e-5(f)(1). Moreover, even if the Plaintiff

did misunderstand the legal import of the dismissal without

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prejudice of her previous lawsuit, that legal error does not
justify equitable tolling.

Accordingly, the Court DISMISSES the case, pursuant to 28
U.S.C. § 1915(e)(2)(B)(ii), for failure to state a claim on which
relief may be granted.

The final issue to be addressed is whether the Plaintiff
should.be allowed to appeal this decision ip ipppp_pauperis, should
she choose to do so. Pursuant to the Federal Rules of Appellate
Procedure, a non-prisoner desiring to proceed on appeal ip ipppp
pauperis must seek pauper status under Fed. R. App. P. 24(a). §pp
Callihan 'v. Schneider, 178 F.3d. 800, 803-04 (6th Cir. 1999).
However, Rule 24(a)(3) provides that if a party was permitted to
proceed ip ipppp pauperis in the district court, she may also
proceed on appeal ip ip;pp pauperis without further authorization
unless the district court “certifies that the appeal is not taken
in good faith or finds that the party is not otherwise entitled to
proceed ip ipipp pauperis.” If the district court denies pauper
status, the party may file a motion to proceed ip ipipp pppppii§,
along with a supporting affidavit, in the Court of Appeals. Fed. R.
App. P. 24(a)(4)-(5).

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. iii It would be
inconsistent for a district court to determine that a complaint
does not warrant service on the defendants, yet has sufficient

merit to support an appeal ip forma pauperis. See Williams v.

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Kullman, 722 F.Zd 1048, 1050 n.l (2d Cir. 1983). The same
considerations that lead the Court to dismiss the Complaint for
failure to state a claim also compel the conclusion that an appeal
would not be taken in good faith.

It is therefore CERTIFIED, pursuant to Fed. R. App. P.
24(a), that any appeal in this matter by the Plaintiff is not taken
in good faith. Leave to proceed on appeal ip ipppp pauperis is,
therefore, DENIED. Accordingly, if Plaintiff files a notice of
appeal, he must pay the $255 appellate filing fee in full or file

a motion to proceed ip forma pauperis in the United States Court of

Appeals for the Sixth Circuit within thirty (30) days.

IT IS SO ORDERED this 452§2_ day of July, 2005.

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PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02236 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

Sharon D. Fisher
7406 Ashley Oaks Drive
i\/lemphis7 TN 38125

Honorable J on McCalla
US DISTRICT COURT

